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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                   NO. 4:08CR00060-01 JLH

DOBIE LEE BROWN                                                                      DEFENDANT

                                              ORDER

         Dobie Lee Brown came before the Court for sentencing on September 18, 2009. At the

beginning of the sentencing hearing, Brown’s lawyer, Ronald L. Davis, Jr., informed the Court that

he had a conflict of interest that involved his representation of another client. He said that he had

been relieved of representing the other client and believed that he also should be relieved of

representing Brown, even though Brown wished him to continue. Davis informed the Court that

another attorney was willing to represent Brown, so it did not appear necessary to appoint counsel

for Brown.

         For the reasons stated, Ronald L. Davis, Jr., is relieved of his duty to represent Dobie Lee

Brown and is discharged from this case. The Court directs that Brown have his new attorney enter

an appearance within one week from the date this order is entered. The Court directs Davis to

furnish a copy of this order to Brown and to the attorney who has said she is willing to represent

Brown.

         IT IS SO ORDERED this 18th day of September, 2009.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
